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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


UNITED STATES OF AMERICA

      v.                                        CASE NO. 8:24-cr-68-KKM-TGW

TIMOTHY BURKE

           UNITED STATES’ NOTICE OF FILING DECLARATIONS
              OF AUTHENTICATION OF BUSINESS RECORDS

      The United States of America, by and through the undersigned, hereby files

the attached Declarations of Authentication of Business Records concerning records

of the below listed entities. In filing this notice and attached declarations, and serving

the same upon the defendant, the government hereby provides notice that the

government may offer one or more of the records identified in the declarations into

evidence at trial in this case pursuant to Federal Rules of Evidence 803(6) and

902(11). Said records are in the government’s possession, have been made available

as part of discovery, and bear the Bates stamps reflected in this notice. Under the

cited rules, live testimony of a records custodian is not necessary to authenticate

these records.

                                                               DECLARATION OF
        SOURCE               BATES STAMP RANGE
                                                               AUTHENTICATION

   Comcast               2121-COMCAST-00001 –                 Exhibit A
                         2121-COMCAST-00005                   (Lee Ann Mayo)

   Frontier              2121-FRONTIER-00001                  Exhibit B-1
   Communications                                             (Amber Holland)
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                                                     DECLARATION OF
        SOURCE           BATES STAMP RANGE
                                                     AUTHENTICATION

   Frontier          2121-FRONTIER-00002 –          Exhibit B-2
   Communications    2121-FRONTIER-00003            (Amber Holland)

   Twitter           N/A                            Exhibit C-1
                                                    (Fernando Henrique
                                                    Luiz Mendes Barbosa)

   Twitter           2121-TWITTER-04715 –           Exhibit C-2
                     2121-TWITTER-04823             (Marcella Barreto)

   Twitter           2121-TWITTER-00267 –           Exhibit C-3
                     2121-TWITTER-04714             (Jasmine Tolson)

   Google            N/A                            Exhibit D-1
                                                    (Hannah Haskins)

   Google            2121-GOOGLE-00001 –            Exhibit D-2
                     2121-GOOGLE-00012              (Vashaun Barrett)

   Google            2121-GOOGLE-00013 –            Exhibit D-3
                     2121-GOOGLE-00064              (Andrew Jordan)

   Google            2121-GOOGLE-00064 –            Exhibit D-4
                     2121-GOOGLE-193703             (Brandon Swartz)

   Google            2121-GOOGLE-193704 –           Exhibit D-5
                      2121-GOOGLE-221789            (Christine Yu)
                                                    (Javier Pena

   LiveU             2121-LIVEU-00001 –             Exhibit E
                     2121-LIVEU-00729               (Daniel Pisarski)




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                                   Respectfully submitted,

                                   ROGER B. HANDBERG
                                   United States Attorney


                             By:   /s/Jay G. Trezevant                _
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                                   /s/Adam J. Duso                        _
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U.S. v. Timothy Burke                              Case No. 8:24-cr-68-KKM-TGW

                            CERTIFICATE OF SERVICE

       I hereby certify that on May 8, 2024, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:


       Michael Maddux, Esq.
       Mark D. Rasch, Esq.

                                         /s/Jay G. Trezevant                  _
                                         Jay G. Trezevant
                                         Assistant United States Attorney
